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1                                IN THE UNITED STATES DISTRICT COURT
2

3                          FOR THE SOUTHERN DISTRICT OF NEW YORK

4    JASON GOODMAN                                      Case No.: 1:21-cv-10878-AT-JLC
5                   Plaintiff,
6
     vs.                                                REPLY TO DEFENDANTS’ OPPOSITION
                                                        TO PLAINTIFF’S OBJECTION TO
7                                                       ORDER AND REPORT AND
     CHRISTOPHER ELLIS BOUZY, BOT
8    SENTINEL, INC, GEORGE WEBB                         RECOMMENDATION
     SWEIGERT, DAVID GEORGE SWEIGERT,
9
     BENJAMIN WITTES, NINA JANKOWICZ,
10   ADAM SHARP, MARGARET ESQUENET,
     THE ACADEMY OF TELEVISION ARTS
11   AND SCIENCES, SETH BERLIN,
     MAXWELL MISHKIN,
12
                    Defendants
13

14
            Plaintiff Jason Goodman, by and for himself pro se, respectfully submits this reply to
15

16
     Defendants’ opposition to the objection to the order and report and recommendation.

17                                          INTRODUCTION
18          Defendants base their opposition response on a false conclusion in which they stated,
19
     “Plaintiff’s sprawling Objections do not identify a single factual or legal error in Judge Cott’s
20
     Report and Recommendation.” This is false, Goodman objected to Judge Cott’s inarguably and
21

22
     fundamentally false conclusion that Goodman has accused defendant Benjamin Wittes

23   (“Wittes”) of committing murder. Even in his follow up order (ECF No. 227) Judge Cott did not
24   deny this false conclusion. Instead he reiterated, “Goodman argues that I falsely stated that he
25
     accused defendant Wittes of murder. The Court’s construction of the amended complaint led it to
26
     characterize the allegations in that fashion.” Judge Cott’s conclusion in this instance violates the
27

28   REPLY TO DEFENDANTS’ OPPOSITION TO PLAINTIFF’S OBJECTION TO ORDER
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1    principle of liberal construction of pro se pleadings. It does the opposite in fact, construing
2
     liberally in favor of the represented Defendants. It is a gross and clear error that indicates Judge
3
     Cott fundamentally misunderstands the basic facts of this case or else is otherwise deliberately
4
     ignoring and contradicting the facts to favor Defendants.
5

6           Goodman never made the accusation that Wittes committed murder. Wittes has not

7    attempted to defend the claim that Goodman accused him of murder. The lack of specific
8
     defense to that allegation is strong evidence that even interested parties agree Goodman did not
9
     make that claim. The fundament basis of this case is Goodman’s claim that Wittes participated
10
     in a conspiracy to conceal information about the death of political operative Peter W. Smith
11

12   (“Smith”). This claim was the basis for the initial contact between Goodman and Christopher

13   Bouzy (“Bouzy”). Goodman has not wavered from this claim. If Judge Cott’s conclusion is not
14
     a clear error, it can only otherwise be a deliberate false statement. Either would be sufficient to
15
     provoke a legitimate objection. Defendants’ opposition brief conspicuously seeks to deny this
16
     substantial detail, strenuously arguing that Goodman has not made a valid objection despite the
17

18   clear facts. Each point in Defendants’ filing is founded upon and reiterates their false assertion

19   that Goodman has not identified any error and therefore need not be individually addressed.
20
            Judge Cott’s statement, “The Court’s construction of the amended complaint led it to
21
     characterize the allegations in that fashion” defies credulity. It should not be accepted at face
22
     value without further clarification as to what specific aspect of the amended complaint led the
23

24   judge to such an erroneous conclusion. The word “murder” does not appear in the amended

25   complaint. The specific allegation that concerns Wittes and the death of Smith is “Defendant
26
     Bouzy defamed Goodman when he knowingly published false conclusory statements to third
27

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1    parties on Twitter declaring Goodman had falsely accused Wittes of deliberately misleading the
2
     public with regard to the death of Peter W. Smith.” (See ECF No. 100 page 38 paragraph 67).
3
            This case began as a result of Goodman’s accusation that Wittes lied and hid true facts in
4
     order to present a false story about the death of Smith. This prompted the interaction with Bouzy
5

6    and lead to the defamatory statements and deliberate destruction of Goodman’s access to social

7    media. Since then, each of the Defendants have filed pleadings replete with conclusory and false
8
     statements that rest on the legally meaningless and derogatory assertion that Goodman is a
9
     conspiracy theorist. A large amount of evidence is already on the record that proves Defendants
10
     were in fact engaged in a conspiracy and the Court should not ignore these facts in the way Judge
11

12   Cott is attempting. On June 8, 2023, a hearing took place in the matter of Jankowicz v Goodman

13   in Arlington Circuit Court. Defendant Nina Jankowicz (“Jankowicz”) was cross examined in the
14
     matter and perjured herself repeatedly. Jankowicz’ testimony was rife with contradictory and
15
     false statements which, once reviewed by the Court will prove self-evident. (EXHIBIT A)
16
            These Defendants must not be permitted to lie their way out of this legal action. Each of
17

18   Goodman’s well-founded claims are backed by evidence that Defendants cannot refute. Instead,

19   they choose to deny empirical facts and ignore reality in favor of their own fiction. If the Court
20
     intends to serve justice in this matter, these facts must be evaluated before Goodman’s claims
21
     can be dismissed and certainly before the draconian injunctions recommended by Judge Cott and
22
     supported by Defendants’ dishonest motion can be imposed. Judge Cott has recommended an
23

24   outrageous and unjust infringement on Goodman’s rights to report facts and evidence relevant to

25   historical matters and of unquestionable public interest. He has further recommended denying
26
     Goodman’s fundamental right to access the courts and these actions at least appear to be unjustly
27

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1    calculated in favor of Defendants. Basing any injunctive action of a false assessment of
2
     Goodman’s claims would be antithetical to the service of justice and must not be allowed.
3
                                              CONCLUSION
4
                    Goodman prays the Court will convene a hearing at which Defendants can answer
5

6    to this evidence with relevant countermanding facts and arguments stronger than juvenile insults

7    or derisive, fallacious claims of so-called conspiracy theory. For the reasons stated herein, the
8
     Court should deny Defendants’ motion and sustain Goodman’s objection to the entirety of Judge
9
     Cott’s outrageous and fundamentally flawed Order and Report and Recommendation. Goodman
10
     reiterates his request for relief by disqualification of Judge Cott for incompetence relative to
11

12   these facts or otherwise deliberate and unjust favoritism towards Defendants, and any other relief

13   as determined by the Court.
14

15
     Signed this 19th day of June 2023
16
     Respectfully submitted,
17

18                                    ____________________________________________________
                                                               Jason Goodman, Plaintiff, Pro Se
19                                                                       252 7th Avenue Apt 6s
                                                                         New York, NY 10001
20
                                                                                (323) 744-7594
21                                                               truth@crowdsourcethetruth.org

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28   REPLY TO DEFENDANTS’ OPPOSITION TO PLAINTIFF’S OBJECTION TO ORDER
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                           (EXHIBIT A)
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